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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                       CRIMINAL NO. 06-20663

v.                                            HONORABLE AVERN COHN

D-10, DEXTER HUSSEY,

             Defendant.
                                       /


                            ORDER CANCELLING BOND

      On April 14, 2009 the Court held a bond review hearing in this matter. Counsel for

the defendant was present but the defendant did not appear. Therefore,

      IT IS HEREBY ORDERED that the bond is CANCELLED.

      IT IS FURTHER ORDERED that the government shall prepare a warrant.

      SO ORDERED.



Dated: April 14, 2009                      s/ Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE
